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                   IN THE UNITED STATES DISTRICT COURT FOR
                      THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

  AISHA NAMUWONGE, individually and                 )
  on behalf of all others similarly situated,       )
                                                    )   Case No. 1:19-cv-3239
                        Plaintiff,                  )
                                                    )
         v.                                         )   Honorable Judge Sharon Johnson
                                                    )   Coleman
  KRONOS, INC.,                                     )
                                                    )
                        Defendant.                  )
                                                    )

                 PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

Named Plaintiff, Aisha Namuwonge, individually and on behalf of all others similarly situated, by

and through undersigned counsel, hereby voluntarily dismisses her claims against Defendant

Kronos, Inc. (“Kronos”).


Dated: December 4, 2019                     Respectfully submitted,

                                            /s/ Ryan F. Stephan_______

                                            Ryan F. Stephan
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                              CERTIFICATE OF SERVICE

       I, the attorney, hereby certify that on December 4, 2019, I filed the attached with the

Clerk of the Court using the ECF system, which will send such filing to all attorneys of record.


                                                            /s/ Ryan F. Stephan




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